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                          UNITED STATES OF AMERICA
                     BEFORE THE FEDERAL TRADE COMMISSION

COMMISSIONERS:                Lina M. Khan, Chair
                              Rebecca Kelly Slaughter
                              Alvaro M. Bedoya


 In the Matter of
 FACEBOOK, Inc.,
    a corporation,                                       Docket No. C-4365


                 Respondent.




                             ORDER FURTHER EXTENDING
                           TIME FOR RESPONDENT’S ANSWER

    Respondent’s Answer to the Commission’s Order to Show Cause in this proceeding is due on
December 11, 2023. However, several developments that may affect the course of this
proceeding recently have occurred. On November 27, 2023, the United States District Court for
the District of Columbia denied a motion by Facebook (now known as Meta) to enjoin the
reopening of the FTC’s administrative proceeding. United States v. Facebook, Inc., 2023 WL
8190858 (D.D.C. Nov. 27, 2023). The court determined that it lacked enforcement jurisdiction
over a 2020 FTC administrative order that it found was not part of a stipulated order previously
entered by the district court. Id. Meta has appealed that ruling and has requested an emergency
injunction staying the administrative proceeding pending resolution of the appeal. On November
29, 2023, Meta also filed a new complaint (assigned now to a new judge) in the United States
District Court for the District of Columbia, raising constitutional arguments and seeking to
preliminarily and permanently enjoin the administrative proceeding.

   Commission Rule of Practice 4.3(b) provides that the Commission may extend for good
cause shown any time limit prescribed by its rules or orders. 16 C.F.R. § 4.3(b). We find that
under the circumstances presented, the desirability of initially coordinating the scheduling of the
multiple proceedings and actions at issue provides good cause to extend the deadline for
Respondent’s Answer until January 31, 2024.

   Accordingly,

   IT IS HEREBY ORDERED THAT Respondent’s Answer, if any, to the Commission’s
Order to Show Cause shall be due on January 31, 2024.




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   By the Commission.




                                   Joel Christie
                                   Acting Secretary




SEAL:
ISSUED: 12/6/2023




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